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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


SECURITIES AND EXCHANGE COMMISSION,                    Case No. 1:10-cv-621-EJL-REB

              Plaintiff,
       v.                                              FINAL JUDGMENT AS TO RELIEF
                                                       DEFENDANT BLACK &
ALTERNATE ENERGY HOLDINGS, INC., et al.,               LOBELLO, LLC

              Defendants and Relief Defendants.




       Before the Court in the above entitled matter is the Securities and Exchange

Commission’s (the “Commission”) Motion for Entry of Final Judgment against Relief

Defendant Black & LoBello, LLC. The Motion is made pursuant to Federal Rule of Civil

Procedure 58(b)(2)(B) on the ground that Black & LoBello, LLC has complied with the

Court’s Order requiring it to turn over funds subject to disgorgement. (Dkt. 343.) Having

reviewed the Motion and entire record herein, the Court finds the conditions for entry of

judgment under Rule 58(b)(2)(B) have been met in this case.

       The Commission filed a Supplemental Amended Complaint against Relief

Defendant Black & LoBello LLC and the Relief Defendant Black & LoBello LLC

appeared in this action. On December 18, 2015, the Court issued an Order requiring Relief

Defendant Black & LoBello, LLC to turn over funds subject to disgorgement in the amount

of $2 million within thirty (30) days of the date of the Order. (Dkt. 335.) Relief Defendant

Black & LoBello LLC has paid the $2 million to the SEC in accordance with the terms of

the Order and having thereby relinquished all legal and equitable right, title, and interest in

such funds and acknowledged that no part of the funds shall be returned to Black &

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LoBello, LLC. No further relief is sought by or owed to the SEC. (Dkt. 343.) Therefore,

the Court will grant the Motion for Entry of Final Judgment against Relief Defendant

Black & LoBello, LLC.

                                              ORDER

       NOW THEREFORE IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

that the Motion for Entry of Final Judgment against Relief Defendant Black & LoBello,

LLC (Dkt. 343) is GRANTED as follows:

       1)     The obligation of Relief Defendant Black & LoBello, LLC to pay the funds

ordered herein shall be deemed satisfied upon the Commission’s receipt of the funds in

compliance with the specified payment terms.

       2)     This Court shall retain jurisdiction of this matter for the purposes of

enforcing the terms of this Final Judgment.

       3)     There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and

without further notice.



                                                   DATED: January 10, 2017


                                                   _________________________
                                                   Edward J. Lodge
                                                   United States District Judge




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